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IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF TEXAS FI my
SHERMAN DIVISION ie L E D
mae “OS ep
CHERYL NORED § “Yae
FEB eng
vs. § CA NO. 4:92 CV 7 4

COLLIN COUNTY COMMUNITY §
COLLEGE DISTRICT, ET AL.

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

on this date came on to be considered the Agreed Motion of all
parties to dismiss the above-styled and numbered cause with
prejudice to the refiling of same, when appeared the Plaintiff by
and through her counsel of record and announced to the Court that
all claims and causes of action relating to this matter have been
fully satisfied and that Plaintiff and Defendants have been
released from any and all liability, and the Court is of the
opinion and finds that said Motion should be granted;

IT IS ACCORDINGLY ORDERED, ADJUDGED AND DECREED that
Plaintiff's action against Defendants is dismissed with prejudice
to the refiling of same in any form whatsoever, with costs of suit
and attorneys' fees to be borne by the party incurring same, save
and except taxable court costs incurred in the filing and service
of the Complaint which shall be reimbursed per the terms of the

agreements between the parties.

SIGNED this fat aay of tabrreny , 1993.

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UNITED STATES DISTRICT JUDGE /

 

  

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APPROVED AS TO FORM AND SUBSTANCE:

 

 

Attorney for Plaintiff

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MICHAEL R. BUCHANAN
Attorney for Defendants

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